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 1   LAWRENCE G. BROWN
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     Assistant U.S. Attorney
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     2500 Tulare Street
 4   Fresno, California 93721
     Telephone: (559) 497-4000
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 8                        IN THE UNITED STATES DISTRICT COURT FOR THE
 9                                  EASTERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,                     )       No. 1:07-CR-0101-AWI
11                                                 )
                       Plaintiff,                  )       STIPULATION TO CONTINUE
12                                                 )       SENTENCING and ORDER
               v.                                  )
13                                                 )
     CHRISTOPHER TRAVIS,                           )
14                                                 )
                       Defendant.                  )
15                                                 )
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               IT IS HEREBY STIPULATED by and between the parties hereto through their respective
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     counsel, Stanley A. Boone, Assistant United States Attorney for Plaintiff, and Daniel L.
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 1   Harralson, Attorney for Defendant, CHRISTOPHER TRAVIS, that the sentencing hearing
 2   presently set for January 20, 2009, at 9:00 a.m. may be continued to February 9, 2009, at 9:00 a.m.
 3                                                       Respectfully submitted,
 4
                                                         LAWRENCE G. BROWN
 5                                                       United States Attorney
 6
     DATED: January 15, 2009                      By /s/ Stanley A. Boone
 7                                                       STANLEY A. BOONE
                                                         Assistant U.S. Attorney
 8                                                       Attorney for Plaintiff
 9
10   DATED: January 15, 2009                      By /s/ Daniel L. Harralson
                                                        DANIEL L. HARRALSON
11                                                      Attorney for Defendant
                                                        CHRISTOPHER TRAVIS
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13
                                                  ORDER
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     IT IS SO ORDERED.
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     Dated:     January 16, 2009                       /s/ Anthony W. Ishii
17   0m8i78                                   CHIEF UNITED STATES DISTRICT JUDGE
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